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EXhibit 6

More Evidence of Robo-Signing

“Documents Filed by WESTERN PROGRESSIVE-ARIZONA INC and chen into
Coconino County Recorder’s Office Clouding the Title ”

CERTIFIED LETTER FROM WESTERN PROGRESSIVE-ARIZONA INC
1) NOTICE OF TRUSTEE SALE ARIZONA 05-01-2009
2) SUBSTITUTION OF TRUSTEE 06-26-2015
3) DEBT VALIDATION NOTICE 11-09-2015
4) STATEIV[ENT OF BREACH OR NON PERFORMANCE 10-29-2015

chen Two : CORPORATE ASSIGNMENT OF DEED OF TRUST

1) Page One: Idaho Falls ID 04-30-2015
Page TWo: Notary Palm Beach Florida 05-01-2015

2) Page One: Idaho Falls ID 03-27-2015
Page Two: Notary Black Hawk Iowa 03-27-2015

NO. CV-16-08277-PCT-DLR

 

Case 3:16-cv-08277-DLR Document 24-6 Filed 10/18/17 Page 2 of 13

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CaS€ 3216-CV-08277-DLR

PG Box 9045
Temecu\a, CA 92589-9045

Send Correspondence to:

Weslern Progressive ~ Arizona, \nc.
Northpark Town Center

1000 Abernathy Rd NE; B|dg 400
Suile 200

At\anta\ GA 30328

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Document 24-6 Filed 10/18/17 Page 3 of 13

   

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Michae| J Brosnahan

21 Hummingbird Cir

Sedona, AZ 86336-7012

 

PRESORT
First-C|ass Mai!
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Fees Paid
VVSO

 

 

 

AZSDAY-CAVV

 

 

.._`CaSe 3:16-cv-08277-DLR Document 24-6 Filed 10/18/17 Page 4 of 13
' ""~’"S"` ,~ii°#:;zf'=iQQ;/x T!‘U€

RECORDING REQUESTED BY:
RECONTRUST COl\"lPAN\/,N.A. OFFi.cial Reeords of Coconino Couni.y 3522414

2380 Performance t)r, sz-985-07-03 §§E§‘?°§n§§?g§~'r¥$f§“§‘§§ 33"”5/2@?§ °j‘“" "" "g'°'i 2
Ri°h@’ds°“’ TX 75°32 lllll|lllllllllllllll|llllllllllllllllll|lllllll|lllllllllllllllllllllllllll|lllll!
WHEN RECORI)ED MAIL To:

BAC HOME LOANS SERVICING, LP
400 COUNTRYW!DE WAY SV-35
Sll\/il VALLEY, CA 93065

Attn: FORECLOSURE DEI’T

TS No. XX-XXXXXXX

Title Order No. 4112‘748
APN No. 401-51=-046

 

NOTICE OF TRUSTEE’S SALE ARHZONA

The following legally described trust property will be so|d_. pursuant to the power ot` sale under that certain Deed
oi`Trust Recorded on 05/3 l/2006, as lnstrument Number 3386l86, Book N/A, Page N/A, in the records oi`
Coconino County, Arizona, at public auction to the highest bidders At the main entrance to the Coconino County
Courthouse, 200 North San Francisco Street, Flagstafi` AZ on 08/06/2009 at l l:30 Al\/l disald day.

LOT 33, OF Cl~lAPEL BELLS ESTATES UNlT 4, ACCORDING TO CASE 2 OF MAPS, PAGE 324,
RECORDS OF COCONINO COUNTY, ARlZ.ONA APN No. 40\-51~046

The Deecl ot` Trust and/or Benet`tciary provide the following purported property locations
21 HUMMINGBIRD ClR, SEDONA, Coconino County, AZ 86336~70}2

Said sale will be made for cash (payable at time ofsale), but without covenant or warranty, express or implied,
regarding title, possession or encumbrances , to pay the remaining principal sum oi` the note secured by said Deed
ot`Trust, which includes interest thereon as provided in said note, advances, if any under the terms oi` said Deed
of Trust, interest on advances, it`any, fees, charges and expenses of the Trustee and of the trust created by said
Deed oi`Trust. The original sum of the note is $373,500.00. Trustce will accept only cash or cashier‘s check for
reinstatement or price bid payment Reinstatement payment must be paid before live o'clock P.M on the last day
other than a Saturday or legal holiday before the date ot` the sale. 'l`he Purchaser at the sale, other than the
beneficiary to the extent of his credit bid, shall pay the price no later than live o‘clock P.M. ofthe following clay,
other than a Saturday or legal holiday.

Name and Address of Original 'I`rustor: MICHAELJ BROSNAHAN, 21 HUMMlNGBtRD CIR, SEDONA, AZ
86336~7012

Name and Address of Current Trttstee: RECONTRUST COMPAN\’, N.A., 2380 Perl`ormance Dr,
'l`X2-985»07-03 Richardson, TX 75082 FOR lNFORMATlON/SALE lNFORMATlON CALL: (800) 281-82l9

Name and Address oi`Current Benei`tciary: MORTGAGE ELECTRON!C RBGISTRATION, 400
COUN'I`RYWlDE WAY SV-35\ . SlMl VALLEY, CA 93065 PHONE: (800) 669-6650

RECONTRUST COMPANY, N.A. lS THE CURRENT 'l`RUS'l`l~lE. RECONTRUST COMPANY, N.A.
QUALIFIES AS A TRUSTEE OF THE TRUST DEED UNDER ARlZ-ONA REVISED S'l`A'l`UTES SECT]UN
33~803, SUBSECTION A. 5., BECAUSE lT IS A NA'l`lON/\l. ASSOClA'l`lON REGULATF.D BV THE
OFFICE OF THE COMPTROLLER OF THE CURRENCY("()CC")

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Form amos (05/08)

Description: Coconino,AZ Document: - Year.DocID Zg')jbs).]q§§¥§;lgbg‘§gl@o;;@g Pages 1*2 Page 1 §
Order: FDAFDSA Comment:

 

Case JIGTC“V:OS“Z??TD|:R_Boeument 24-6~Filed_10!18¢1-7~~_Page5 of 13¢. _1. “,___ __
j ' ` 3522414 Pages: 2 of 2 05/05/2009 04:27:45 Pl\/l

DATED: May 01, 2009

RECONTRUST COMPANY, N.A,
As Trustee

County of: game ) Shan€ SCrWirt, Gm~i‘viember Q.\

 

Asslstant 3

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()n /0 q before me Ch"St°pherA` Wm'ams , personally appeared
cgl/mmp Q€( ¢,_,,,q , know to me (or proved to me on the oath of

 

or through ) to be the person whose name is subscribed to the
foregoing instrument and acknowledged to me that he/she executed the same for the purposes and
consideration therein expressed

 

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\X rtness my hand and official seal. chsTopHER A. wime
My Commlsslon Exph'u t
June 20. 2012 t

Notary Public's Signature

 

THIS FIRM 18 ATTEMPTING To COLLECT A DEBT. ANY INFORMATION OBTAINED Wll,L
en uSED FoR THAT PURPOSE. THE DEBT SET FORTH ON THIS NOTICE WILL BE
ASSUMED TO BE VALID UNLESS YoU DIsPU-TE TI~IE DEBT BY PRovIr)ING Tnts oFFIct~:
wrrH A WRITTEN NOTICE OF YOUR DISPUTE WITHlN 30 DAYS OF YOUR RECEIPT OF
THIS NOTICE, sETTtNG PORTH THE BASIS or YOUR DISPUTE. n= YoU DISPUTE THE
DEBT IN WRITlNG WITHIN 30 DAYS, WF, WILL OBTAIN AND MAIL VERIFICATlON OF THE
DEBT To Yot). tr THE cREDrroR iDEN’nFtED m ran NoTICE ts DIFFERENT THAN
YOUR ORIGINAL CRED]TOR, WE WtLI, PROVIDE Y()U WITH THE NAME AND ADDRESS
OF THE ORIGINAL CREDI'I‘OR IF YOt) REQUEST t‘ttts INFORMATION IN WRITING WITHIN
30 DAYS.

Form c:znos (05/08)
Description: Coconino,AZ Document * Year.Do¢ID 2009.3522414 selected Pages 1-2 Page 2
Order: FDAFDSA Comment:

 

_ ` 10/18/17 PB_ € 6 Of 13
C<'J\S€ 3116'CV'08277'DLR DOCUme%ti't€'iaq R§c|;|oer%s of Coconino Cgounty 3725177

Patty Hansen ~ Recorder 06/26/2015 02.'42:30 Pl\/l Pgs: 2
Sll\/|PL|F|LE LC E~RECORD|NG l\lST $9.00

RBCORDING REQUESTED BY:
Premium Title Agency, inc

AND WHEN RECORDED MAIL TO:
Western Progressive ~ At'izona, inc.
Nortlipark Town Center, 1000 Abemathy Rd NE; Bldg 400, Suite 200, Atlanta, GA 30328

 

since aaovn mrs tma ron kacom)ea's usa
TS No.: 2015~00057-AZ 55713083204644

SUBSTITUT§ON OI" TRUSTEE

WHEREAS, Michaei J Brosnahnn, A married man ns his sole & separate property was the original
Trustor, FIDELKTY NATlONAL TITLE lNSURANCE COMPANY was the original Trustee, and
COUNTRYWIDB BANK, N.A. AS LENDER MORTGAGE ELECTRONIC REG!STRAT£ON SYSTEMS.tNC,
was the original Beneticiaty under that certain Deed oi`Trust dated 05/25/2006 and recorded on 05/31/.?.006 as
Instrument No. 3386} 86_. in book --, page -- ofOft'tcial Records ot" Coconino County, Arizona, and describe as
follows '

LOT 33, OF CHAPEL BELJ_,S ESTATES UNIT. 4, ACCORDING TO CASE 2 OF MAPS,
PAGE 324, RECORDS OF COCONINO COUNTY, ARIZONA

The Successor trustee appointed herein qualifies as trustee ofthe Trust Deed in the trustee’s capacity as an Insurance
Company s required by ARS Secticn 33~803, Subsection {A)(o)

WHEREAS, tire undersigned is the present Beneficiary under said Deed oi`Tmst, and

 

' - - - LR Document 24-6 Filed 10/18/17 Page 7 of 13
Case 3'16 CV 9§5§77? Pages; 2 ofz 06/26/2015 02:42:30 PM

TS No.i 2015~00057-}\'[, 5571308320464.4

WHEREAS, the undersigned desires 10 substitute anew Tmstee under said Deed oi`Trust in place and
instead oi`said original Tmstee, or Successor ']`rustee, thereunder, in the manner in said Deed of'I`ruSt provid€d,
NOW, TH EREFORE, the undersigned hereby substitutes Weste)'n Progressive ~ Arizona, lnc.,
Northpark Town Center, 1000 Abcrnathy Rd NE; Bldg 400, Suite 200, Atlnnta, GA 30328 as 'I`rustee under

said Deed ofTrust.

Whenever the context hereof so requires,._ the masculine gender includes the t`eminine and/or
neuter, and lhe singular number includes the plural.

Daced: 5! Ql g §§ Wilmington Trust, Nationnl Associntion_. not in its individual
~'. no#¢>n cf .'?`RLP S \ 'T‘.

capacity but as ’E`r...,..... . ect:r:£‘.zat:o:z . .'::st, Ser:es

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State oi` Florida
Coumy of Palm Beach

The foregoi?g)i?cs£':'mem Was acknowledged and sworn before me this "Z §

day of , ZOI§, by Kristln Frontera as
1 ,

COMIHCUMQS"\@'\¥MW of chen Loan Servioing, LLC, who is personal known to me or Who
has produced <;-`--"__-_~ as identification .

kw (('[S;é, Erin M. Weston
Woraw Pubh'c-§mie cfptorida

 

 

 

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Case 3:16-cv-08277-DLR Document 24-6 Filed 10/18/17 Page 8 of 13
TS No,: 2015-00057-AZ

Western Progressive - Arizona, Inc.
Northpark Town Center

1000 Abernathy Rd NE; Bldg 400, Suite 200
Atlanta, GA 30328

(866) 960-8299

Date: November 9, 2015
T.S. Number: 2015-00057-AZ

DEBT VALIDATION NOTICE

l. The enclosed document relates to a debt owed to:
Wilmington Trust, National Association, not in its individual capacity but as Trustee of ARLP
Securitization Trust, Series 2014-2

2. You may send us a written request for the name and address of the original creditor, if different from the
current creditor, and we will obtain and mail the information within thirty (30) days after We receive your
written request.

3. As of 11/09/2015 the total delinquency owed was $ 189,018.77, because of interest, late charges, and
other charges that may vary from day to day this amount will increase until the delinquency has been
fully paid. Before forwarding payment please contact the above at the address or phone number listed in
order to receive the current amount owed.

4. As of November 9, 20]5, the amount required to pay the entire debt in full was the unpaid principal
balance of 33 90,628.94, plus interest fron112/01/2008, late charges, negative escrow and attorney and/or
trustee’S fees and costs that may have been incurred. The amount will increase daily until the debt has
been paid in full. For further information please write to the above listed address or call (866) 960-8299

5. You may dispute the validity of this debt, or any portion thereof, by contacting our office within thirty
(30) days after receiving this notice. In that event, we will obtain and mail to you written verification of
the debt. Otherwise, we will assume that the debt is valid.

VVE ARE ATTEMPTING TO COLLECT A DEBT, AND ANY INFORMATION
WE OBTAIN WILL BE USED FOR THAT PURPOSE.

“The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act
require that, except under unusual circumstances, collectors may not contact you before 8 a.m. or after 9 p.m.
They may not harass you by using threats of violence or an'est or by using obscene language Collectors may
not use false or misleading statements or call you at work if they know or have reason to know that you may not
receive personal calls at work. For the most part, collectors may not tell another person, other than your
attorney or spouse, about your debt. Collectors may contact another person to confirm your location or enforce
a judgment For more information about debt collection activities, you may contact the Federal Trade
Commission at l/877/FTC-HELP or www.ftc.go\='.”

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TS No.: 2015-00057~AZ

 

STATEMENT OF BREACH OR NON-PERFORMANCE

TS No.:2015-00057-AZ

 

NOT!CE IS HEREBY GIVEN that a breach or non-performance of the Trust Deed mentioned in the “Notice
ofTrustee’s Sale” to which this Statement of Breach or Non~Performance is attached has occurred The nature
of such breach of non-performance is as follows:

lnstallment of Principal and interest pins impounds and/or advances which became due on 01/01/2009
plus late charges, and all subsequent installments of principal, interest, balloon payments, plus impounds
and/or advances and late charges that become payable

You are responsible to pay all payments and charges due under the terms and conditions of the loan
documents which come due subsequent to the date of this notice, including, but not limited to, foreclosure
trustee fees and costs, advances and late charges

Furthermorc, as a condition to bring your account in good standing, you must provide the undersigned
with written proof that you are not in default on any senior encumbrance and provide proof of insurance
Nothing in this notice of default should be construed as a waiver of any fees owing to the beneficiary
under the deed of trust, pursuant to the terms and provisions of the loan documents

The Beneticiary elects to sell or cause to be sold such property under the Trust Deed.

Dated:October 29, 2015

Western Progressive ~ Arizona Inc.

@f©®\ot@

Chelsea Jackson, Trust‘ee Sale Assistant

lF YOUR PROPERTY IS IN FORECLOSURE because you are delinquent in payments, it may be sold
without any court action as stated in the enclosed Notice of Trustee’s Sale. You have the legal right to bring
your account in good standing by paying all your past due payments plus permitted costs and expenses within
90 days from the date the Notice of Trustee’s Sale was recorded

IF YOUR INTEREST lN THE TRU ST PROPERTY IS SUBORDINATE in priority to that ofthe Deed
of Trust being foreclosed, your interest may be subject to being terminated by the Trustcc’s Sale.

'l`o find out the amount you must pay or to arrange for payment to stop the foreclosure or if your property is in
foreclosure for any other reason, contact

chen Loan Servicing LLC
1661 Worthington Road

West Palm Beach, FL 33409
Phone: 377~596-8580

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Case 3:16-cv-08277-DLR Document 24-6 Filed 10/18/17 Page 10 of 13

Recordlng Requested By:
OCWEN LOAN SERVlClNG, l_l.C

When Recorded Return To:
OCWEN LOAN SERV|C\NG, LLC

240 TECHNOLOGY DRIVE
lDAHO FALLS, lD 83401

 

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C ` A_ coRPoRArE Ass;cNmENT or DEED oF rausr

SELLER‘S SERVlClNG #:7130832046 "BROSNAHAN"
lNVESTOR'S LOAN #: ARLP 2014-2

Date of Assignment: Aprll 30th, 2015

Asslgnor: Chrlstiana Trust, a division of Wllmlngton Savings Fund Soclety, FSB, not in
its individual capacity but as Trustee of ARLP Trust 4 by lt’s attorney in fact chen
Loan Servlcing, LLC at 1661 WORTHlNGTON RD, SUlTE 100, WEST PALl\/l BEACH,
FL 33409

Asslgnee: WlLl\/llNGTON TRUST, NATlONAL ASSOC|ATlOl\l, NOT lN lTS
lNDlVlDUAL CAPAClTY BUT AS TRUSTEE OF ARLP SECURlTlZATlGN TRUST,
SER|ES 2014`2 at C/O OCWEN LOAN SERVlClNG, Ll_C., 1661 WORTH|NGTON
ROAD, STE 100, WEST PALM BEACl-l, Fl_ 33409

Executed By: l\/llCHAEl_ J. EROSNAHAN, A lleRRlED lleN AS l-llS SOLE &
SEPARATE PROPERT\’ To: MORTGAGE ELECTRONlC REGlSTRATlON

SYSTEMS, ll\l.C., ("MERS"). SOLELY AS NOlvllNEE FOR COUNTRYW|DE BANKx NA,
lTS SUCCESSORS AND/OR ASSIGNS v
Date of Deed of Trust: 05/25/2006 Recorded: 05/31/2006 in Book/Reel/Liber: N/A
Page!Folio: N/A as instrument No.: 3386'1 86 ln the Counly of Coconlno, State of
Arizonal ~

KNOW ALL MEN BY THESE PRESENTS, that for good and valuable consideration.
the receipt and sufficiency of Which is hereby acknc)wledget:ll the said Asslgnor hereby
assigns unto the above~namecl Assignee, the said Deed of Trust having an original
principal sum of $373,500.00 with interest secured lhereby, and the full benefit of all
the powers and of all the covenants and provisos therein contained and the said
Asslgnor hereby grants and conveys unto the said Asslgnee, the Asslgnor’s interest
under the Deed of Trust.

TO HAVE AND TG HOLD the said Deed of Trust, and the said property unto the
said Asslgnee forever, subject to the terms contained in said Deed of Trust. lN
WlTNESS \NHEREOF, the assignor has executed these presents the day and year first
above written:

Chrlstlana Trust, a division of V\/ilmington Savings Fund Society, FSB, not in its
individual Capacily.but as Trustee of ARLP Trust 4 by it's attorney in fact chen l_oan
Servicing, LLC

On MAY ll l 205

By: 4
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'/\Sl'ASiG.‘.LAC‘CQ.':M 15 16:4250 AM° GMACJ.{.‘GFLAC)‘\COCQMUCW€§G&M ' AZCOCC'H‘ 7130532046 AISTATE_THUST__AS$!GI¢__ASS|¢ 'UAV'DAVC~¢‘-MG '

 

 

Case 3:16-cv-08277-DLR ' Document 24-6 Filed 10/18/17 Page 11 of 13

CORPORATE ASS\GNMENT OF DEED OF TRUST Page 2 Ot' 2

STATE OF haw
COUNTY OF ' P§§n wm

On MAY 0 i 2015 , before me, Ch'is“a“ `3‘ Fe"er . a Notary Public in
and for Peim Bear:h in the State of going , personally appeared

Yenlter Lonanzo ,Authorized Signe'r, personally known to me (or proved to
me on the basis of satisfactory evidence) to be the person(s) whose name(s) is/are
subscribed to the within instrument and acknowledged to me that he/she/they executed
the same in his/her/their authorized capacity and that by his/her/their signature on the
instrument the person(s), or the entity upon behalf of which the person(s) acted,
executed the instrument

VVlTNESS my hand and ofhcial seai.

 

 

No‘!ary Put.~l`~c Siaxa cl Flonda
§MR%§ Chrisiian J Ferrer z
C‘/ ,L.._. ' ny cameron FF oa.zs¢
l R¢,¢.d§ Exp~;mt 12£!0!2015
christian .i. peter

 

Notary Expires: 1`1/3¢)/'¢'.» ila
(This area for notarial seai)

‘AS['ASIE?\'=°,C‘U~ZBCI.QD\ 5 10.“¢253 A*~‘¢’ GlMC<CGMACAm‘XOZ®JCWSEF:€\' AZCCCON' 713%32348 AZSYATE_TRU ST_ASSlGH_ASSN 'UAV‘DAVGM‘~C'

 

 

Case 3:16-cv-08277-DLR Document 24-6 Filed 10/18/17 Page 12 of 13

Officia| Records of Coconino County 3720139
Patty Hansen - Recorder 05/04!2015 10;17;40 Ai~/l Pgs: 2
SllViPLlFlLE LC E-RECORD!NG DOTA $9.00

Recording Requested By;
OCWEN LOAN`SERV|C|NG, Ll_C

When Recorded Return To:
OC\/VEN LGAN SERVlClNG, LLC

240 TECHNOLOGY DR|VE
lDAHO FALLS, lD 83401

 

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CORPORATE ASSlGNlVlENT OF DEED OF TRUST
Coconino, Arizona

SELLER'S SERVICING #:7130832046 "BROSNAHAN"
SELLER'S LENDER lDl¢: DW SC|

Date of Assignment; March 27th. 2015

Assignor; Christiana Trust, a division of Wilmington Savings Fund Society, FSB, not in
its individual capacity but as Trustee ofARLP Trust 4 by it‘s attorney in fact chen
Loan Servicing, LLC at 1661 WORTHlNGTON RD, SU|TE 100, WEST PALl\/l BEACH,
Ft_ 33409

Assignee: \/ViLMlNGTON TRUST, NATlONAL ASSOCIAT|ON, NOT lN lTS
lNDlVlDUAl_ CAPAC|TY BUT AS TRUSTEE OF ARLP SECURlTlZATlON TRUST.
SERlES 2014-2 at C/O OCWEN LOAN SER\/iClNG, LLC., 1661 WORTH|NGTON
ROAD, STE 100, WEST PALl\/l BEACH, FL 33409 '

Executed By: MlCHAEL J. BROSNAHAN, A MARRIED MAN AS HlS SOLE &
SEPARATE PROPERTY To: MORTGAGE ELECTRONlC REG|STRAT|ON
SYSTEMS, li\lC., ("MERS"), SOLELY AS NOM|NEE FOR COUNTRYW|DE BANK, NA,
lTS SUCCESSORS AND/OR ASS|GNS

Date of Deed of Trust: 05/25/2006 Recorded: 05/31/2006 in Book/Reel/Liber; NIA
Page/Folio: N/A as instrument No.: 3386186 ln the County of Coconino, State of
Arizona.

KNOW ALL MEN BY THESE PRESENTS, that for good and valuable considerationl
the receipt and surnciency of which is hereby acknowledged the said Assignor hereby
assigns unto the above-named Assignee, the said Deed of Trust having an original
principal sum of 5373,500.00 with interest, secured thereby, and the full benefit of all
the powers and of all the covenants and provisos therein contained, and the said
Assignor hereby grants and conveys unto the said Assignee, the Assignor's interest
under the Deed of Trust.

TO HAVE AND TO HOLD the said Deed of Trust, and the said property unto the
said Assignee forever, subject to the terms contained in said Deed of Trust. lN
WlTNESS WHEREOF, the assignor has executed these presents the day and year first
above written:

Christiana Trust. a division of V\hlmington Savings Fund Society, FSB, not in its
individual capacity but as Trustee of ARLP Trust 4 by it's attorney in fact chen Loan
Servicing, Ll_C

On MARZ 2 Zii]§

 

_, Authorized Signer

'AS\'AS iGMAC'EN?LQGT 5 la 20:25 A‘~'. ' G?'\AC~${)GMACAWCCOQ:CCOOO?O¢$MJO`\ ' »\ZCC»C OH ' 7130532045 AZ$YAY£_TGUST_»\SS!GN_)\SSH 'RR'RR \ GMAC ‘

 

 

 

 

 

 

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3720139 Pages: 2 of2 05/0¢1/2015 10:17:40 Ai\/l

 

CORPORATE ASSIGNMENT OF DEED OF TRUST Page 2 of 2

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county oF seeksanz¢"‘° §
i

On HARZ 720$5 , before mex Wt:hl’nspisii , a Notary Public in
and for 5 in the State of m , personally appeared

RB'BBG€A , Authorized Signer, personally known to me (or proved to.
me on the basis of satisfactory evidence) to be the person(s) whose name(s) islare
subscribed to the within instrument and acknowledged to me that helene/they executed
the same in his/her/their authorized capacity, and that by his/her/their signature on the
instrument the person(s), or the entity upon behalf of which the person(s) acted.
executed the instrument.

WlTNESS my hand and official seal,

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" ¢° CUMM|S * ames
o SSl°NBU’iHES
_MM § "‘“°°iii'i`i§t am -
W€HPUM__

Notary Expires:@ ljs/2x1 17

 

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(This area for notarial seal)

'AS| 'ASlGMAC'o?JZ?RD\S 1 C'QHZE A!.\` GOI'AC¢CGMACACOO(X)CMG'_"WS§G1 ' AZCUCCN" 7 1 30632~346 AZS YATE_'TRUST`_ASS|GN_ASSN ‘RR'RRT GMAC`

 

 

 

